Case:20-16438-JGR Doc#:5 Filed:09/29/20 Entered:09/29/20 12:14:29

United States Bankruptcy Court

Inre _Willco X Development, LLLP

LIST OF EQUITY SECURITY HOLDERS

District of Colorado

Debtor(s)

Case No.
Chapter

Pagel of 4

 

11

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 

Name and last known address or place of
business of holder

4x4, LLC
1405 42nd Avenue
Greeley, CO 80634

Albrecht, Luella
1414 Lesseps Street
Shreveport, LA 71107

American Estate & Trust, LLC
6300 Westclifff Drive

Suite 603

Las Vegas, NV 89145

Basin Properties, LLC
3814 Cheyenne Drive
Greeley, CO 80634

Between the Sheets, LLC
9119 Naplli Court

#102

Naples, FL 34113

Butterfield, Alan
6519 Bluffmount Point
Colorado Springs, CO 80923

Cheyenne Ridge Investments, LLC
3814 Cheyenne Drive
Greeley, CO 80634

Circle H Investments, LLC
1195 Turquoise Drive
Longmont, CO 80504

Fobo, LLC

191 University Blvd.
Suite 516

Denver, CO 80206

Harris, Paul L.
2477 Wilderness Lane
Fayetteville, AR 72703

Henry, Kathleen
1172 Spanish Oak Court
Fort Collins, CO 80525

Sheet 1 of 4 in List of Equity Security Holders
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com

Security Class Number of Securities

Kind of Interest

1.772470

0.886241

0.881207

0.886230

4.431016

4.431016

0.886230

4.431016

4.431016

4.431016

0.882009

Best Case Bankruptcy
Case:20-16438-JGR Doc#:5 Filed:09/29/20 Entered:09/29/20 12:14:29 Page2 of 4

Inre: Willco X Development, LLLP

LIST OF EQUITY SECURITY HOLDERS
(Continuation Sheet)

 

 

Name and last known address or place of | Security Class Number of Securities

business of holder

Holiday Travelers V
§412 Vardon Way
Fort Collins, CO 80528

Home Away From Home, LLC
1033 Arkansas Court
Windsor, CO 80550

Johnson Family Trust
2201 Ponderosa Drive
Loveland, CO 80538

Jorgenson, Ann
914 Logan Court
Loveland, CO 80538

Kluge, Michael and Marl
4904 Haystack Drive
Windsor, CO 80550

Lund Family Trust
2954 Red Arrow Drive
Las Vegas, NV 89135

Mabry, G.C.
6763 Spanish Bay Drive
Windsor, CO 80550

Midou Enterprises USA, Inc.
1003 Bishop Street

Suite 1700

Honolulu, HI 96813

Mueller, Robert and Debra
26 Denali Court
Barrington, IL 60010

New Direction IRA
FBO Michelle Fosse
1070 W. Century Drive
Suite 101

Louisville, CO 80027

New Direction IRA
FBO Danny Herron
1070 W. Century Drive
Suite 101

Louisville, CO 80027

List of equity security holders consists of 4 total page(s)
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com

Kind of Interest

4.431016

0.886241

0.886241

4.413544

0.886241

8.877340

0.000000

4.431170

4.431016

0.886241

4.431016

Best Case Bankruptcy
Case:20-16438-JGR Doc#:5 Filed:09/29/20 Entered:09/29/20 12:14:29 Page3 of 4

Inre: Willco X Development, LLLP Case No.

 

Debtor(s)

LIST OF EQUITY SECURITY HOLDERS
(Continuation Sheet)

 

Name and last known address or place of | Security Class Number of Securities
business of holder

Peel, William and Susa
2105 S. 189th Circle
Omaha, NE 68130

PFI Properties | , LLC
2402 Sunset Lane
Greeley, CO 80634

Rocky Mountain Beach Holdings
1212 Chicadee Court
Fort Collins, CO 80525

SAK Family Trust
11850 W. Lone Tree Trail
Peoria, AZ 85383

Schwartz, Dan
P.O. Box 271309
Fort Collins, CO 80527

Spirit Hospitality, LLC
4836 S. College Avenue
Suite 11

Fort Collins, CO 80525

Stolz Capital
7486 East Nestling Way
Scottsdale, AZ 85255

Stone Mountain Investments, LLC
1195 Turquoise Drive
Longmont, CO 80504

Stucco Rite, Inc.
760 N. 71st Avenue
Greeley, CO 80634

TCDRN
§402 Augusta Trail
Fort Collins, CO 80528

Van Dewar Recovable Trust
9290 East Thompson Peak Pkwy
#212

Scottsdale, AZ 85255

List of equity security holders consists of 4 total page(s)
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com

Kind of Interest

4.431016

4.431016

0.881592

0.000000

4.431016

0.750372

4.431016

0.886230

0.886230

0.881163

4.431016

Best Case Bankruptcy
Case:20-16438-JGR Doc#:5 Filed:09/29/20 Entered:09/29/20 12:14:29 Paged4 of 4

Inre: Willeo X Development, LLLP Case No.

 

Debtor(s)

LIST OF EQUITY SECURITY HOLDERS
(Continuation Sheet)

 

Name and last known address or place of | Security Class Number of Securities
business of holder

Wabco, LLC

4836 S. College Avenue
Suite 11

Fort Collins, CO 80525

William Scott Investments, LLC
3979 Greenside Lane
Timnath, CO 80547

Youngers, Keith and Andrea
§23 Trailwood Circle
Fort Collins, CO 80527

Kind of Interest

0.886230

8.877340

0.886230

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the Spirit Hospitality, LLC, General Partner of Debtor of the corporation named as the debtor in this case, declare
under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the

best of my information and belief.

Date September 29, 2020 Signature is! William G. Albrecht, Manager of

 

William G. Albrecht, Manager of Sp/riy Hospital Hf, LLe

tartnitr & deble-

Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.

18 U.S.C. §§ 152 and 3571.

List of equity security holders consists of 4 total page(s)
Software Copyright (c) 1996-2020 Best Caso, LLC - www.bestcase.com

Best Case Bankruptcy
